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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

 LINCOLN MEMORIAL ACADEMY,
 EDDIE HUNDLEY, MELVIA SCOTT,
 KATRINA ROSS and JAUANA
 PHILLIPS,

       Plaintiffs,

 v.                                                     Case No: 8:20-cv-309-CEH-AAS

 SCHOOL DISTRICT OF MANATEE
 COUNTY, FLORIDA, CITY OF
 PALMETTO, FLORIDA and STATE
 OF FLORIDA, DEPARTMENT OF
 EDUCATION,

       Defendants.
 _________________________________/

                         SUMMARY JUDGMENT NOTICE

 To All Parties:

       A motion for summary judgment pursuant to Rule 56, Federal Rules of Civil

 Procedure, has been filed in this case (Docs. 244, 245, 246). Unless the Court notifies

 the parties otherwise, there will not be a hearing on this motion; instead, the Court

 will decide the motion on the basis of the motion, responses, briefs or legal

 memoranda, and evidentiary materials filed by the parties.             Unless otherwise

 specifically ordered by the Court, any response to this motion, as well as all supporting

 evidentiary materials (counter-affidavits, depositions, exhibits, etc.) must be filed with

 the Clerk of this Court within twenty-one (21) days of service of the motion for
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 summary judgment, unless otherwise ordered by the Court. The Court will consider

 this motion and take the motion under advisement thirty (30) days after the motion is

 filed.

          The following explanatory admonitions are included here for the benefit of pro

 se parties (i.e., parties not represented by an attorney) who oppose the summary

 judgment motion. In addition to the above paragraph, you are also advised that, if

 the Court grants this motion for summary judgment, such would be a final decision

 of the Court in favor of the party filing the motion (“movant’). As a result of such final

 decision, there would be no trial or other proceedings in this case, and you would likely

 be precluded from later litigating this matter or any related matters. Therefore, you

 are hereby further advised: (1) failing to respond to this motion will indicate that the

 motion is not opposed; (2) all material facts asserted by the movant in the motion will

 be considered to be admitted by you unless controverted by proper evidentiary

 materials (counter-affidavits, depositions, exhibits, etc.) filed by you; and (3) you may

 not rely solely on the allegations of the issue pleadings (e.g., complaint, answer, etc.)

 in opposing the motion. See Griffith v Wainwright, 772 F.2d 822, 825 (11th Cir. 1985).



                                                        FOR THE COURT:

                                                        s/ Bettye Samuel
                                                        Deputy Clerk

 Dated: May 11, 2021

 Copies: All Parties of Record


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